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     San Francisco, CA 94104
10   Attorney for Plaintiff
     CINDY COLLEY
11
                          UNITED STATES DISTRICT COURT
12
                        NORTHERN DISTRICT OF CALIFORNIA
13
14
     CINDY COLLEY, an individual,             Case No: 4:22-cv-03884-HSG
15
                        Plaintiff,            [Removed from Sonoma County
16                                            Superior Court Case No. SCV-270782]
             v.
17
     SNAPNURSE, INC.,                         JOINT STIPULATED SCHEDULE
18                                            REGARDING PLAINTIFF’S
                        Defendants.           MOTION FOR LEAVE TO FILE
19                                            SECOND AMENDED COMPLAINT;
                                              ORDER
20
21                                            Complaint Filed: May 9, 2022
                                              FAC:             May 18, 2022
22                                            Trial Date:      Not Set
23
24
             Plaintiff CINDY COLLEY (“Plaintiff”) and Defendant SNAPMEDTECH,
25
     INC. dba SNAPNURSE (“Defendant”) (collectively, the “Parties”), by and through
26
     their respective counsel of record herein, hereby stipulate and agree as follows:
27
28                                            1
     JOINT STIPULATED SCHEDULE REGARDING PLAINTIFF’S MOTION FOR LEAVE TO
                    FILE SECOND AMENDED COMPLAINT; ORDER
     FP 44792590.1
          Case 4:22-cv-03884-HSG Document 19 Filed 08/09/22 Page 2 of 4



1             WHEREAS, on July 19, 2022, Plaintiff filed a Motion for Leave to File a
2    Second Amended Complaint and set the hearing for January 5, 2023, which was
3    the first hearing date Plaintiff could obtain without permission from the Court;
4             WHEREAS, on August 1, 2022, the parties met and conferred to see if the
5    parties can come to an agreement regarding Plaintiff’s Second Amended
6    Complaint, specifically related to Plaintiff’s new claim under the Private Attorneys
7    General Act(“PAGA”);
8             WHEREAS, on August 1, 2022, the Parties met and conferred regarding the
9    potential impact on Plaintiff’s new PAGA claim of the motion for preliminary
10   approval of the PAGA settlement in PHUC QUAN TRAN, et al. vs
11   SNAPMEDTECH, INC., et al., Los Angeles Superior Court Case No.
12   21STCV31264, which is set for hearing on August 17, 2022t and in which Plaintiff
13   is currently a part of the settlement group. ;
14            WHEREAS, the Parties have agreed to continue the dates for the Opposition
15   and Reply briefs to a date a month after the hearing in the Tran matter;
16            WHEREAS, the Parties have met and conferred and have agreed to the
17   following briefing schedule:
18            NOW, THEREFORE, it is agreed and stipulated by the parties as follows:
19            1. Defendant will serve its Opposition to Plaintiff’s Motion for Leave no
20   later than September 16, 2022.
21            2. Plaintiff will serve its Reply no later than October 21, 2022.
22
23            IT IS SO STIPULATED.
24   //
25   //
26   //
27   //
28                                               2
     JOINT STIPULATED SCHEDULE REGARDING PLAINTIFF’S MOTION FOR LEAVE TO
                    FILE SECOND AMENDED COMPLAINT; ORDER
     FP 44792590.1
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1
2    DATE: August 2, 2022               FISHER & PHILLIPS LLP
3
4                                         /s/ Vana Ebrahimi
                                  By:
5                                       Lonnie D. Giamela
                                        Vana Ebrahimi
6                                       Attorneys for
                                        SNAPMEDTECH, INC. dba SNAPNURSE
7
8    DATE: August 2, 2022               HIGHMAN & HIGHMAN
9
10                                        /s/ Bruce J. Highman
                                  By:
11                                      Bruce J. Highman
                                        Attorney for
12                                      CINDY COLLEY
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     JOINT STIPULATED SCHEDULE REGARDING PLAINTIFF’S MOTION FOR LEAVE TO
                    FILE SECOND AMENDED COMPLAINT; ORDER
     FP 44792590.1
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1                                           ORDER
2            Having read the foregoing stipulation and agreement of the Parties, and for
3    good cause appearing, IT IS HEREBY ORDERED:
4
5            1. The last day for Defendant file and serve its Opposition to Plaintiff’s
6    Motion for Leave to File Second Amended Complaint is September 16, 2022.
7
8            2. The last day for Plaintiff to file her Reply to Defendant’s Opposition is
9    October 21, 2022.
10
11           IT IS SO ORDERED.
12
13                                             __________________________________
14                                              Honorable Haywood S. Gilliam, Jr.
15                                              United States District Court Judge
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     JOINT STIPULATED SCHEDULE REGARDING PLAINTIFF’S MOTION FOR LEAVE TO
                    FILE SECOND AMENDED COMPLAINT; ORDER
     FP 44792590.1
